Case 4:25-cv-01998 Document7 Filed on 05/20/25 inTXSD Pagelof1

NO. 4:25-CV-1998

AMCAP MORTGAGE, LTD. §

: IN THE UNITED STATES DISTRICT
VS. § COURT FOR THE SOUTHERN DISTRICT

§ OF TEXAS
SAP CONCUR §
AFFIDAVIT OF SERVICE

BEFORE ME, the undersigned authority, K. Roswold (Process Server), personally
appeared and stated under oath as follows:
1. My name is K. Roswold (server). I am over the age of eighteen (18), I am not a party to

this case, and have no interest in its outcome. I am in all ways competent to make this affidavit and this affidavit
is based on personal knowledge. The facts stated herein are true and correct. My business address is:

PO Box 3796 Houston, TX 77253 (

SERVER'S ADDRESS)

2. ON 5/7/25 (DATE) AT 2 _: 19 (P_)M (TIME) SUMMONS INA
CIVIL ACTION; PLAINTIFF'S ORIGINAL COMPLAINT came to hand for delivery to SAP
CONCUR, BY SERVING ANY OFFICER OF THE COMPANY.

3. ON 5/14/25 (DATE)AT 2  : 20 (_P_) M (TIME)The above named
documents were hand delivered to: SAP CONCUR, BY SERVING ANY OFFICER OF THE
COMPANY by hand delivering to:

James Roberts, Representative for CT Corporation System, registered agent for Concur Technologies, Inc.
(Name and Title) a person authorized to accept service at:

711 Capitol Way South #204 Olympia, WA 98501
(ADDRESS), in Person, in accordance to Rule 108 TRCP.

FURTHER AFFIANT SAYETH NOT.
Liv & bid)

SERVER'S SIGNATURE

K. Roswold
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Bb ‘ore ‘te by K. Roswold (server) appeared on this
2025't0 aftest witness my hand and seal of office.

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